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                         Exhibit G
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                                     SERVING SAN DIEGO & ORANGE COUNTIES
                                         http://www.linkedin.com/in/petelepiscopo/
                                        WEBSITE: WWW.LEPISCOPOLAWFIRM.COM

                                                  ORANGE COUNTY
                                                       OFFICE
PETER D. LEPISCOPO, ESQ.                      695 Town Center, 7TH Floor                 OF COUNSEL:
JAMES M. GRIFFITHS, ESQ.                     Costa Mesa, California 92626                SENATOR BILL MORROW, ESQ.
                                              Telephone: (949) 878-9418                  California State Senator-Retire
MARSHALL R. LURTZ, ESQ.                       Facsimile: (619) 330-2991

                                                 September 9, 2021



       TAYLOR T. SMITH, ESQ.                                 Email: tsmith@woodrowpeluso.com
       WOODROW & PELUSO, LLC
       3900 East Mexico Avenue, Suite 300
       Denver, Colorado 80210

       Re:    Erica Reiners v. Chou Team Realty, LLC, et al.
                U.S. District Court for the Central District of California Case No. 2:20-cv-06587


       Dear Mr. Smith:

          LOCAL RULE 7-3 MEET & CONFER AND RETURN WITHOUT ACTION: 8/9/21
                           SUBPOENA TO SALES SPEEK, INC.

       On or about September 2, 2021, your client’s 8/9/21 Subpoena to Produce Documents,
       Information, or Objects or to Permit Inspection of Premises in a Civil Action (“Subpoena”)
       directed to Sales Speek, Inc., was served on Mr. Nesheiwat. For your reference a copy of the
       Subpoena is attached hereto and marked as Attachment 1.

       As I previously advised you, Mr. Nesheiwat refused to accept service of any process relating to
       Sales Speek, Inc., an entity that does not exist. Accordingly, Mr. Nesheiwat has no duty to respond
       to the Subpoena, and, therefore, is returning the Subpoena to you (see Attachment 1).

       In your September 17, 2021, letter you indicated that “the subpoena was properly served on Sales
       Speek’s president and registered agent, Jawad Nesheiwat. . .” I never conceded any such point.
       Rather, I merely acknowledged that contrary to my instructions that Mr. Nesheiwat would not
       agree to accept service of the subpoena, the subpoena was received by Mr. Nesheiwat, and that I
       was returning it to you without action. Furthermore, I never conceded that Mr. Nesheiwat was
       Sales Speek’s president and/or agent for service of process or held any other position.



              SAN DIEGO COUNTY OFFICE: 3511 Camino del Rio South, Suite 101 • San Diego, California 92108
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  SERVING SAN DIEGO & ORANGE COUNTIES



  TAYLOR T. SMITH, ESQ.
  September 23, 2021
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  Moreover, you have provided no evidence that Sales Speek ever conducted any business in
  California or elsewhere. It merely filed its articles of incorporation (“Articles”) on April 28, 2016,
  and, as the Secretary of State’s records clearly prove, no further documents were ever filed with
  the Secretary of State. More importantly, you have failed to provide any evidence of the identities
  of the directors or officers of Sales Speek. The Articles merely indicate that in 2016 Mr. Nesheiwat
  was the agent for service of process, nothing more, nothing less. This means, of course, that he has
  no duty to testify or respond to your client’s subpoena, which brings up another point—the
  subpoena was not directed to the custodian of records but rather to “Sales Speek, Inc.”

  Of course, if you have evidence that contradicts any of the foregoing, please feel free to provide it
  and I will review and consider it.

  Finally, it is important to note that I do not represent Sales Speek, Inc., but am merely serving as
  a conduit through which to return the Subpoena to you. Accordingly, although I do not believe I
  have any duty to do so, you may consider this letter my response under Local Rule 7-3 to your
  September 17, 2021 meet & confer letter.

  Sincerely,

  LEPISCOPO & ASSOCIATES LAW FIRM



  Peter D. Lepiscopo
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  _____________________________________________________________________________________________
                                        SAN DIEGO OFFICE




               ATTACHMENT 1
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